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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT ()F KANSAS

 

PATRICK BROWN and LEA BROWN, Civil File No. 2:11-cv-02317
. Plaintiff,
Vs. STIPULATION OF DISMISSAL
WITH PREJUDICE
COLLECTIONS ACQUISITIONS COMPANY, LLC,
d/b/a Payliance,
Defendant.

 

Pursuant t0 Fed. R. Civ. .P. 41(a)(l)(A)(ii), the plaintiff Patrick BroWn and Lea Brown,
and the defendant, Collection Acquisitions Company, LLC, d/b/a Payliance hereby stipulate to
the dismissal of the above-styled case and any claims that Were raised, With pre]`udice, eachside
to bear its own costs and attorneys feés.

Respectfully submitted,

Dated: January 19, 2012 By /s/J. Mark Meinhardt
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Dated: Janua_ry 19, 2012 By /s/Joshua C. Dickinson
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